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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




NORTHWESTERN MUTUAL LIFE
INSURANCE COMPANY,

              Plaintiff,                                   Civil Action No. 22-2588 (CKK)

         v.

J.R.H., ex rel. MALEEQUA C. HALL, et al.

              Defendants.


        [PROPOSED] ORDER GRANTING PARTIAL MOTION TO WITHDRAW AS
           COUNSEL AND APPOINT ADDITIONAL GUARDIAN(S) AD LITEM

         The Minor Defendants’ June 22, 2023 partial motion to withdraw as counsel and appoint

additional Guardian(s) ad litem is hereby GRANTED. All deadlines are hereby deferred until a

date to be set after appointment of such additional Guardian(s) ad litem is made.



Date:
                                                 COLLEN KOLLAR-KOTELLY
                                                 United States District Judge
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